      Case 1:16-cv-09517-LAK-KHP Document 148 Filed 11/08/18 Page 1 of 2



                                                         ffi
                                                      underberg & kessler rrp
                                                                                                    11/08/2018



                                                                                PAUL F. KENEALLY, EsQ., PARTNER
                                                                                (s8s) 2s8-2882
                                                                                pkeneally@undcrbergkessler.com


                                                       November 8,2018

VIA ECF & E-MAIL
p ar k e r_ny s d c h a mb e r s@Vy s d, u s c o urts. g ov


Hon. Katharine H. Parker, Esq.
United States Magistrate Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

          RE:       Daniel Kleebergo Lisa Stein and Audrey Hays v. Lester Eber, et al.
                    Civ. Action No.: 16-cv-9517

Dear Magistrate Judge Parker:

         Pursuant to this Court's Order (Docket #105) granting the Eber Defendants' letter motion
to seal Exhibit E to Document #98 (M. Beyma letter dated November 7,2012), and this Court's
ruling during the November 7,2018 status conference, the Eber Defendants respectfully request
the following Civil Docket entries for this case be modified:

           Docket #98:

           Mr. Brook's letter filed May 25, 2018 at p. 3 and FN 5 references the privileged
document and, therefore, that should be removed/redacted.

                     #135

       Memorandum in Support of Plaintiffs' Second Motion to Compel at pp. 2l-22, the entire
paragraph H regarding the privileged document should be removedhedacted.

           Docket #138

           Mr. Brook's letter filed October 30, 2018 at p.2, second full paragraph under section                  1,
 againreferences the privileged document and should be removed/redacted.
 Hon.Case 1:16-cv-09517-LAK-KHP
     Katharine H. Parker        Document 148 Filed 11/08/18 Page 2 of 2
 November 8,20i8
 I'}age l2
                                           m
                                      underberg & kessler rrp




       Enclosed are copies of the above-mentioned documents for your review and reference.

       Thank you for your consideration.

                                       V           v



                                       Paul F

 PFIVmds
 Enclosure

 cc:    Brian F. Brook, Esq. (w/out enc. via ECF)
        Robert Calihan, Esq. (w/out enc. via ECF)
        Michael J. Adams, Esq. (w/out enc. via ECF)



APPLICATION GRANTED: The Clerk of Court is requested to lock the following
docket entries from public view:
ECF #98 Letter Motion
ECF #135 Memorandum of Law
ECF #138 Letter Motion
Counsel for the Plaintiffs are directed to email redacted versions of these documents to
Judge Parker's Chambers in order for the Clerk's Office replace them on ECF.




                                                                               11/08/2018
